                Case: 25-3293, 05/30/2025, DktEntry: 9.1, Page 1 of 2




                    UNITED STATES COURT OF APPEALS                         FILED
                            FOR THE NINTH CIRCUIT                          MAY 30 2025
                                                                        MOLLY C. DWYER, CLERK
                                                                         U.S. COURT OF APPEALS
AMERICAN FEDERATION OF                           Nos. 25-3030, 25-3293
GOVERNMENT EMPLOYEES, AFL-CIO;
                                                 D.C. No.
et al.,                                          3:25-cv-03698-SI
                                                 Northern District of California,
             Plaintiffs - Appellees,             San Francisco
 v.                                              ORDER

DONALD J. TRUMP, in his official
capacity as President of the United States; et
al.,

             Defendants - Appellants.


IN RE DONALD J. TRUMP.                           No. 25-3034
___________________________________              D.C. No.
                                                 3:25-cv-3698
DONALD J. TRUMP; et al.,
                                                 Northern District of California,
                                                 San Francisco
             Petitioners,

 v.

UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF
CALIFORNIA, SAN FRANCISCO,

             Respondent,

AMERICAN FEDERATION OF
GOVERNMENT EMPLOYEES, AFL-CIO;
et al.,

             Real Parties in Interest.
                Case: 25-3293, 05/30/2025, DktEntry: 9.1, Page 2 of 2




      The motions (Docket Entry Nos. 10, 21, 33 in 25-3030; Docket Entry Nos.

10, 16 in 25-3034) for leave to file amicus curiae briefs related to the emergency

stay motion are granted.

      The motion (Docket Entry No. 37 in 25-3030; Docket Entry No. 31 in 25-

3034; Docket Entry No. 6 in 25-3293) for leave to file an oversized response to the

emergency stay motion is granted.

                                             FOR THE COURT:

                                             MOLLY C. DWYER
                                             CLERK OF COURT




                                        2                                  25-3030
